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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 23-1078V


    DEBRA A. SCHILLER,                                      Chief Special Master Corcoran

                        Petitioner,
    v.                                                      Filed: July 30, 2024

    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                       Respondent.


Ramon Rodriguez, III, Sands Anderson, PC, Richmond, VA, for Petitioner.

Sarah Christina Duncan, U.S. Department of Justice, Washington, DC, for Respondent.

                                      DECISION ON DAMAGES1

       On July 13, 2023, Debra A. Schiller filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as the result of an influenza (“flu”) vaccination received on
October 14, 2021. Petition at 1. The case was assigned to the Special Processing Unit of
the Office of Special Masters.

     On April 5, 2024, a Ruling on Entitlement was issued, finding Petitioner entitled to
compensation for a SIRVA. On July 29, 2024, Respondent filed a Proffer on award of
compensation (“Proffer”). Respondent represented that Petitioner agrees with the

1
  Because this Decision contains a reasoned explanation for the action taken in this case, it must
be made publicly accessible and will be posted on the United States Court of Federal Claims'
website, and/or at https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance
with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2018) (Federal Management and
Promotion of Electronic Government Services). This means the Decision will be available to
anyone with access to the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14
days to identify and move to redact medical or other information, the disclosure of which would
constitute an unwarranted invasion of privacy. If, upon review, I agree that the identified material
fits within this definition, I will redact such material from public access.
2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755.   Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2018).
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proffered award. Id. at 1 – 2. Based on the record as a whole, I find that Petitioner is
entitled to an award as stated in the Proffer.

        Pursuant to the terms stated in the Proffer, I award the following compensation:

      A lump sum of $159,460.89 (representing $155,000.00 for pain and suffering,
$650.77 for past unreimbursable expenses, and $3,810.12 for past lost wages) in
the form of a check payable to Petitioner. Proffer at 1 – 2. This amount represents
compensation for all damages that would be available under Section 15(a). Id. at 2.

        The Clerk of Court is directed to enter judgment in accordance with this decision.3

        IT IS SO ORDERED.
                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

                                                    )
 DEBRA A. SCHILLER,                                 )
                                                    )
                Petitioner,                         )
                                                    )    No. 23-1078V
 v.                                                 )    Chief Special Master Corcoran
                                                    )    ECF
 SECRETARY OF HEALTH AND HUMAN                      )
 SERVICES,                                          )
                                                    )
                Respondent.                         )
                                                    )

             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On July 13, 2023, Debra A. Schiller (“petitioner”) filed a petition for compensation under

the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34 (“Vaccine Act”

or “Act”), alleging that she suffered a Table shoulder injury related to vaccine administration

(“SIRVA”), as the result of an influenza (“flu”) vaccination received on October 14, 2021.

Petition at 1. On April 5, 2024, the Secretary of Health and Human Services (“respondent”) filed

a Rule 4(c) Report recommending that compensation be awarded for SIRVA, and the Chief

Special Master issued a Ruling on Entitlement finding petitioner entitled to compensation the

same day. ECF No. 21; ECF No. 22.

I.     Items of Compensation

       A.      Pain and Suffering

       Respondent proffers that petitioner should be awarded $155,000.00 in actual pain and

suffering. Petitioner agrees.
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       B.       Past Unreimbursable Expenses

       Evidence supplied by petitioner documents that she incurred past unreimbursable

expenses related to her vaccine-related injury. Respondent proffers that petitioner should be

awarded past unreimbursable expenses in the amount of $650.77. See 42 U.S.C. § 300aa-

15(a)(1)(B). Petitioner agrees.

       C.       Lost Wages

       Evidence supplied by petitioner documents that she incurred past lost wages related to

her vaccine-related injury. Respondent proffers that petitioner should be awarded past lost

wages in the amount of $3,810.12. See 42 U.S.C. § 300aa-15(a)(3)(A). Petitioner agrees.

       These amounts represent all elements of compensation to which petitioner is entitled

under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following1: a lump sum payment of $159,460.89, representing

compensation for pain and suffering ($155,000.00), past unreimbursable expenses ($650.77), and

past lost wages ($3,810.12), in the form of a check payable to petitioner, Debra A. Schiller.




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
                                                 2
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III.   Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Debra A. Schiller:                     $159,460.89

                                           Respectfully submitted,

                                           BRIAN M. BOYNTON
                                           Principal Deputy Assistant Attorney General

                                           C. SALVATORE D’ALESSIO
                                           Director
                                           Torts Branch, Civil Division

                                           HEATHER L. PEARLMAN
                                           Deputy Director
                                           Torts Branch, Civil Division

                                           LARA A. ENGLUND
                                           Assistant Director
                                           Torts Branch, Civil Division

                                           s/ Sarah C. Duncan
                                           SARAH C. DUNCAN
                                           Trial Attorney
                                           Torts Branch, Civil Division
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                                           Benjamin Franklin Station
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DATED: July 29, 2024




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